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                                                                  Document
                                         United States Bankruptcy Court                       Page 2 of 36
                                                                                                                                          Voluntary Petition
                                      Northern District of Illinois
 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
  Conailco, Inc.
 All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN               Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):                                                                 (if more than one, state all):
                                    XX-XXXXXXX
 Street Address of Debtor (No. and Street, City, and State):                                    Street Address of Joint Debtor (No. and Street, City, and State):
 19110 Streit Road                                                                              19110 Streit Road
 Harvard, IL                                                                                    Harvard, IL
                                                                      ZIP CODE 60033                                                                         ZIP CODE 60033
 County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
  McHenry                                                                                       McHenry
 Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                    ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                          ZIP CODE
                      Type of Debtor                                      Nature of Business                               Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                      (Check one box.)                                                the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                         ✔       Chapter 7               Chapter 15 Petition for
        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in               Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                 Chapter 11              Main Proceeding
  ✔     Corporation (includes LLC and LLP)                         Railroad                                             Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                          Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                             Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                              ✔ Other                                                                    Nature of Debts
                                                               Nail supply and distribution
                                                              ___________________________________                                        (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                     Debts are primarily consumer     ✔ Debts are primarily
                                                                                                                      debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization             § 101(8) as “incurred by an
                                                                      under Title 26 of the United States             individual primarily for a
                                                                      Code (the Internal Revenue Code).               personal, family, or house-
                                                                                                                      hold purpose.”
                                 Filing Fee (Check one box.)                                                                     Chapter 11 Debtors
                                                                                                Check one box:
  ✔     Full Filing Fee attached.                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

        Filing Fee to be paid in installments (applicable to individuals only). Must attach           Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court’s consideration certifying that the debtor is
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.           Check if:
                                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                insiders or affiliates) are less than $2,190,000.
        attach signed application for the court’s consideration. See Official Form 3B.          -----------------------------------
                                                                                                Check all applicable boxes:
                                                                                                    A plan is being filed with this petition.
                                                                                                    Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                    of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  ✔        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  ✔
 1-49          50-99           100-199        200-999        1,000-          5,001-         10,001-         25,001-           50,001-          Over
                                                             5,000           10,000         25,000          50,000            100,000          100,000

 Estimated Assets
  ✔
 $0 to         $50,001 to      $100,001 to    $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000        $500,000       to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
 Estimated Liabilities
                               ✔
 $0 to         $50,001 to      $100,001 to    $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000        $500,000       to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
                   Case
B 1 (Official Form 1) (1/08) 09-73636           Doc 1 Filed 08/26/09 Entered 08/26/09 17:50:04 Desc Main                                                                 Page 2
 Voluntary Petition                                          Document              Page
                                                                                    Name of3     of 36
                                                                                               Debtor(s):
 (This page must be completed and filed in every case.)                              Conailco, Inc.
                                  All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
                    Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                    Case Number:                                     Date Filed:
                   Donald M.Jewell & Nancy J. Jewell                                         09-73615                                           08-26-2009
 District:                                                                                     Relationship:                                    Judge:
                  Northern District of Illinois
                                        Exhibit A                                                                                Exhibit B
                                                                                                                 (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                            whose debts are primarily consumer debts.)
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                               have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                               12, or 13 of title 11, United States Code, and have explained the relief
                                                                                               available under each such chapter. I further certify that I have delivered to the
                                                                                               debtor the notice required by 11 U.S.C. § 342(b).

        Exhibit A is attached and made a part of this petition.                                X    /s/ John Haderlein, ESQ.                   08-26-2009
                                                                                                   Signature of Attorney for Debtor(s)       (Date)

                                                                                   Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                  Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                  Information Regarding the Debtor - Venue
                                                                           (Check any applicable box.)
              ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                     preceding the date of this petition or for a longer part of such 180 days than in any other District.

                     There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                     has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                     this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                       (Check all applicable boxes.)

                       Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                               (Name of landlord that obtained judgment)



                                                                                               (Address of landlord)

                       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                       entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                       Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
                       filing of the petition.

                       Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B 1 (Official Form) 1 (1/08)                                      Document     Page 4 of 36                                                                        Page 3
Voluntary Petition                                                                          Name of Debtor(s):
(This page must be completed and filed in every case.)                                      Conailco, Inc.
                                                                                    Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

X                                                                                           X
     Signature of Debtor                                                                         (Signature of Foreign Representative)

X
     Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)
                                                                                                 Date
     Date
                                 Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

X      /s/ John Haderlein, ESQ.                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
       John Haderlein, ESQ.                                                                 provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       Law Offices of John Haderlein, ESQ.                                                  guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
     Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
               815-C Country Club Drive                                                     notice of the maximum amount before preparing any document for filing for a debtor
     Address   Libertyville, IL 60048                                                       or accepting any fee from the debtor, as required in that section. Official Form 19 is
                                                                                            attached.

       (312) 316-4614
     Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
       08-26-2009
     Date                                                                                        Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                 state the Social-Security number of the officer, principal, responsible person or
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.
                                                                                                 Address
                  Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true   X
and correct, and that I have been authorized to file this petition on behalf of the
debtor.
                                                                                                 Date
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                           Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                            partner whose Social-Security number is provided above.
X      /s/ Donald M. Jewell
     Signature of Authorized Individual                                                     Names and Social-Security numbers of all other individuals who prepared or assisted
       Donald M. Jewell                                                                     in preparing this document unless the bankruptcy petition preparer is not an
     Printed Name of Authorized Individual
       President, Conailco, Inc.                                                            individual.
     Title of Authorized Individual
       08-26-2009                                                                           If more than one person prepared this document, attach additional sheets conforming
     Date                                                                                   to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                            the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                            both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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B6 Summary (Official Form 6 - Summary) (12/07)



                                          United States Bankruptcy Court
                                              Northern
                                          _______________ District Of ______________
                                                                           Illinois
                   Conailco, Inc.
In re ___________________________________,                                                Case No. ___________________
                       Debtor
                                                                                                       7
                                                                                          Chapter ____________

                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS              LIABILITIES               OTHER

 A - Real Property                                                                    $ 0.00
                                                    YES                  1
 B - Personal Property                                                                $ 300.00
                                                    YES                  3
 C - Property Claimed
     as Exempt
                                                    NO                   0
 D - Creditors Holding                                                                                      $ 0.00
     Secured Claims
                                                    YES                  1
 E - Creditors Holding Unsecured                                                                            $ 1,000.00
     Priority Claims                                YES                  3
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $ 122,411.53
     Nonpriority Claims                             YES                  3

 G - Executory Contracts and
     Unexpired Leases                               YES                  1

 H - Codebtors
                                                    YES                  1
 I - Current Income of                                                                                                              $
     Individual Debtor(s)
                                                    NO                   0
 J - Current Expenditures of Individual                                                                                             $
     Debtors(s)
                                                    NO                   0
                                          TOTAL                                       $ 300.00              $ 123,411.53
                                                                        13
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Form 6 - Statistical Summary (12/07)


                                       United States Bankruptcy Court
                                                     Northern
                                                    _______________             Illinois
                                                                    District Of ______________

                 Conailco, Inc.
In re ___________________________________,                                              Case No. ___________________
                       Debtor
                                                                                                      7
                                                                                        Chapter ____________

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $

 Taxes and Certain Other Debts Owed to Governmental Units             $ 1,000.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $

 Domestic Support, Separation Agreement, and Divorce Decree           $
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $
 Obligations (from Schedule F)

                                                           TOTAL      $ 1,000.00

State the following:
 Average Income (from Schedule I, Line 16)                            $

 Average Expenses (from Schedule J, Line 18)                          $

 Current Monthly Income (from Form 22A Line 12; OR, Form              $
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $ 0.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $ 1,000.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $ 0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $ 122,411.53
  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                            $122,411.53
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B6A (Official Form 6A) (12/07)                           Document     Page 7 of 36
                     Conailco, Inc.
In re _____________________________________________,                                                    Case No. ______________________________
                 Debtor                                                                                                  (If known)


                                           SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




             DESCRIPTION AND                                                                       CURRENT VALUE                      AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR’S                              OF DEBTOR’S                       SECURED
                PROPERTY                            INTEREST IN PROPERTY                             INTEREST IN                        CLAIM
                                                                                                 PROPERTY, WITHOUT
                                                                                                   DEDUCTING ANY
                                                                                                   SECURED CLAIM
                                                                                                    OR EXEMPTION




                                                                                 Total
                                                                                 (Report also on Summary of Schedules.)
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                       Conailco, Inc.
In re _______________________________________________,                                                    Case No. _________________________
                 Debtor                                                                                                    (If known)


                                          SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                              CURRENT VALUE OF
                                                                                                                              DEBTOR’S INTEREST
                                                  N                                                                           IN PROPERTY, WITH-
          TYPE OF PROPERTY                        O              DESCRIPTION AND LOCATION                                     OUT DEDUCTING ANY
                                                  N                    OF PROPERTY                                              SECURED CLAIM
                                                  E                                                                              OR EXEMPTION

 1. Cash on hand.                                 x
 2. Checking, savings or other finan-
 cial accounts, certificates of deposit           x
 or shares in banks, savings and loan,
 thrift, building and loan, and home-
 stead associations, or credit unions,
 brokerage houses, or cooperatives.

 3. Security deposits with public util-
 ities, telephone companies, land-                x
 lords, and others.

 4. Household goods and furnishings,
 including audio, video, and computer             x
 equipment.

 5. Books; pictures and other art
 objects; antiques; stamp, coin,                  x
 record, tape, compact disc, and other
 collections or collectibles.

 6. Wearing apparel.                              x
 7. Furs and jewelry.
                                                  x
 8. Firearms and sports, photo-
 graphic, and other hobby equipment.              x
 9. Interests in insurance policies.
 Name insurance company of each                   x
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name
 each issuer.                                     x
 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under        x
 a qualified State tuition plan as defined in
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
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      Conailco, Inc.
In re ______________________________________________,                                 Case No. _________________________
                  Debtor                                                                               (If known)


                                           SCHEDULE B - PERSONAL PROPERTY
                                                           (Continuation Sheet)

                                                                                                     CURRENT VALUE OF
                                                                                                     DEBTOR’S INTEREST
                                                  N                                                  IN PROPERTY, WITH-
          TYPE OF PROPERTY                        O        DESCRIPTION AND LOCATION                  OUT DEDUCTING ANY
                                                  N              OF PROPERTY                           SECURED CLAIM
                                                  E                                                     OR EXEMPTION


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.
                                                  x
 Give particulars.

 13. Stock and interests in incorporated
 and unincorporated businesses.                   x
 Itemize.

 14. Interests in partnerships or joint
 ventures. Itemize.                               x
 15. Government and corporate bonds
 and other negotiable and non-                    x
 negotiable instruments.

 16. Accounts receivable.
                                                  x
 17. Alimony, maintenance, support,
 and property settlements to which the            x
 debtor is or may be entitled. Give
 particulars.

 18. Other liquidated debts owed to
 debtor including tax refunds. Give               x
 particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable        x
 for the benefit of the debtor other than
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death         x
 benefit plan, life insurance policy, or trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax            x
 refunds, counterclaims of the debtor, and
 rights to setoff claims. Give estimated
 value of each.
           Case
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                        Conailco, Inc.
In re _________________________________________________,                                             Case No. _________________________
                 Debtor                                                                                               (If known)

                                            SCHEDULE B - PERSONAL PROPERTY
                                                                (Continuation Sheet)


                                                                                                                    CURRENT VALUE OF
                                                                                                                    DEBTOR’S INTEREST
                                               N                                                                    IN PROPERTY, WITH-
          TYPE OF PROPERTY                     O           DESCRIPTION AND LOCATION                                 OUT DEDUCTING ANY
                                               N                 OF PROPERTY                                          SECURED CLAIM
                                               E                                                                       OR EXEMPTION


 22. Patents, copyrights, and other
 intellectual property. Give particulars.      x
 23. Licenses, franchises, and other general
 intangibles. Give particulars.                x
 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C.
                                               x
  § 101(41A)) provided to the debtor by
 individuals in connection with obtaining a
 product or service from the debtor
 primarily for personal, family, or
 household purposes.

  25. Automobiles, trucks, trailers,               1974 Clark Lift Truck
 and other vehicles and accessories.                                                                                      $300.00
 26. Boats, motors, and accessories.
                                               x
 27. Aircraft and accessories.
                                               x
 28. Office equipment, furnishings,
 and supplies.
                                               x

 29. Machinery, fixtures, equipment,
 and supplies used in business.                x

 30. Inventory.
                                               x
 31. Animals.
                                               x
 32. Crops - growing or harvested.
 Give particulars.                             x

 33. Farming equipment and implements.
                                               x
 34. Farm supplies, chemicals, and feed.
                                               x
 35. Other personal property of any kind
 not already listed. Itemize.                  x

                                                                0
                                                            __________continuation sheets attached     Total     $ 300.00
                                                                   (Include amounts from any continuation
                                                                   sheets attached. Report total also on
                                                                               Summary of Schedules.)
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B6D (Official Form 6D) (12/07)
                                       Conailco, Inc.
                    In re ____________________________________,                                                   Case No. __________________________________
                                       Debtor                                                                                            (If known)

                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

          
          ✔         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                  HUSBAND, WIFE,




  CREDITOR’S NAME AND                                               DATE CLAIM WAS                         UNLIQUIDATED              AMOUNT OF CLAIM                  UNSECURED
                                                                                              CONTINGENT
                                                   COMMUNITY
                                       CODEBTOR




     MAILING ADDRESS                                                   INCURRED,                                                         WITHOUT                      PORTION, IF
                                                    JOINT, OR




 INCLUDING ZIP CODE AND                                             NATURE OF LIEN ,                                      DISPUTED   DEDUCTING VALUE                     ANY
   AN ACCOUNT NUMBER                                                      AND                                                         OF COLLATERAL
    (See Instructions Above.)                                         DESCRIPTION
                                                                     AND VALUE OF
                                                                       PROPERTY
                                                                    SUBJECT TO LIEN
 ACCOUNT
ACCOUNT NO.NO.




                                                                     VALUE
                                                                    VALUE $   $
ACCOUNTNO.
ACCOUNT NO.




                                                                     VALUE
                                                                    VALUE $   $
 ACCOUNT
ACCOUNT NO.   NO.




                                                                     VALUE
                                                                    VALUE $  $
____                                                                Subtotal                                                        $                            $
 0 continuation sheets                                              (Total of this page)
     attached
                                                                    Total                                                           $                            $
                                                                    (Use only on last page)
                                                                                                                                     (Report also on Summary of   (If applicable, report
                                                                                                                                     Schedules.)                  also on Statistical
                                                                                                                                                                  Summary of Certain
                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                  Data.)
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          In re                    Conailco, Inc.                  ,                                    Case No.
                                         Debtor                                                                              (if known)


        SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community."        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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 In re                       Conailco, Inc.                        ,             Case No.
                            Debtor                                                                    (if known)




    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


✔ Taxes and Certain Other Debts Owed to Governmental Units
 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                            0 continuation sheets attached
                                                           ____
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                    Conailco, Inc.
In re __________________________________________,                                                       Case No. _________________________________
                   Debtor                                                                                                 (if known)

      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)

                                                                                                                                             Type of Priority for Claims Listed on This Sheet




                                                             HUSBAND, WIFE,

                                                              COMMUNITY




                                                                                                                        UNLIQUIDATED
        CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                         AMOUNT      AMOUNT           AMOUNT




                                                                                                           CONTINGENT
                                                               JOINT, OR
         MAILING ADDRESS                                                        INCURRED AND                                                            OF        ENTITLED            NOT




                                                                                                                                       DISPUTED
       INCLUDING ZIP CODE,                                                     CONSIDERATION                                                           CLAIM         TO            ENTITLED
      AND ACCOUNT NUMBER                                                          FOR CLAIM                                                                       PRIORITY             TO
                                                  CODEBTOR
        (See instructions above.)                                                                                                                                                 PRIORITY, IF
                                                                                                                                                                                      ANY




 Account No.        D 5650-056-1                                              January, 2009
                                                                              Annual Report Fee0
Secretary of State
Dept. of Business Services                                                                                                                        $1,000.00       $1,000.00          $0.00
501 S. 2nd Street
Springfield, IL 62756-5510



 Account No.




 Account No.




 Account No.




            1 of ___
 Sheet no. ___    1 continuation sheets attached to Schedule of                                                Subtotals                          $ 1,000.00     $ 1,000.00
 Creditors Holding Priority Claims                                                                    (Totals of this page)

                                                                                                                  Total                           $   1,000.00
                                                                              (Use only on last page of the completed
                                                                              Schedule E. Report also on the Summary
                                                                              of Schedules.)

                                                                                                                  Totals                                         $ 1,000.00      $0.00
                                                                              (Use only on last page of the completed
                                                                              Schedule E. If applicable, report also on
                                                                              the Statistical Summary of Certain
                                                                              Liabilities and Related Data.)
               Case
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                      Conailco, Inc.
In re __________________________________________,                                                           Case No. _________________________________
                        Debtor                                                                                                   (if known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                        HUSBAND, WIFE,

                                                         COMMUNITY




      CREDITOR’S NAME,                                                        DATE CLAIM WAS                                                                  AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                          JOINT, OR




                                                                                                                   CONTINGENT
                                             CODEBTOR




       MAILING ADDRESS                                                         INCURRED AND                                                                     CLAIM




                                                                                                                                               DISPUTED
     INCLUDING ZIP CODE,                                                    CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                            CLAIM.
          (See   instructions above.)                                      IF CLAIM IS SUBJECT TO
                                                                              SETOFF, SO STATE.


  ACCOUNT NO.              ****0011                                      January, 2009

 Advanta Business Cards
 P.O. Box 8088                                                                                                                                                $26,757.58
 Philadelphia, PA 19101



  ACCOUNT NO.              ****6345                                      December, 2008

 Wells Fargo Business Direct
 P.O. Box 348750                                                                                                                                              $70,112.88
 Sacramento, CA 95834



  ACCOUNT NO.              ****0082                                      January, 2009

 Citibusiness Card
 P.O. Box 44180                                                                                                                                               $16,949.09
 Jacksonville, FL 32231-4180


  ACCOUNT NO.             30868-123                                      November, 2008

 Gummerson & Rausch (Woolf Distr.)
 101 S. Benton Street, Suite 201
                                                                                                                                                               $330.33
 Woodstock, IL 60098


                                                                                                                                    Subtotal              $ 114,149.88

   2
  _____continuation sheets attached                                                                                            Total                      $
                                                                                 (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
               Case
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                       (12/07) - Cont.Doc                1       Filed 08/26/09 Entered 08/26/09 17:50:04                                                    Desc Main
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                    Conailco, Inc.
In re __________________________________________,                                                           Case No. _________________________________
                      Debtor                                                                                                  (if known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                              (Continuation Sheet)




                                                        HUSBAND, WIFE,

                                                         COMMUNITY
      CREDITOR’S NAME,                                                        DATE CLAIM WAS                                                                 AMOUNT OF




                                                                                                                               UNLIQUIDATED
                                                                                                                  CONTINGENT
                                             CODEBTOR


                                                          JOINT, OR




                                                                                                                                              DISPUTED
       MAILING ADDRESS                                                         INCURRED AND                                                                    CLAIM
     INCLUDING ZIP CODE,                                                    CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                            CLAIM.
         (See   instructions above.)                                       IF CLAIM IS SUBJECT TO
                                                                              SETOFF, SO STATE.


 ACCOUNT NO.                101927                                       November, 2008

Pan American Screw
630 Reese Drive                                                                                                                                               $546.73
Conover, NC 28613



 ACCOUNT NO.                 3236                                        May, 2008

 Gardner Denver Thomas, Inc.
 P.O. Box 953331                                                                                                                                              $375.44
 St. Louis, MO 63195-3331



 ACCOUNT NO.            CON00001                                         October, 2008

 Bulldog Tools & Fasteners
 1147 N. Ellsworth Avenue                                                                                                                                    $3,045.31
 Villa Park, IL 60181


 ACCOUNT NO.               516496                                        December, 2008

Simpson Strong Tie
P.O. Box 45687                                                                                                                                                $2,077.00
San Francisco, CA 94145-0687


 ACCOUNT NO.              ****1782                                       May, 2008

 Anasco, Inc.
 1515 W. Fullerton Avenue                                                                                                                                     $580.40
 Addison, IL 60101


           1     2 continuation sheets attached
 Sheet no.___of___                                                                                                                   Subtotal            $   6,624.88
 to Schedule of Creditors Holding Unsecured
 Nonpriority Claims

                                                                                                                              Total                      $
                                                                                (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
               Case
B6F (Official Form 6F)09-73636
                       (12/07) - Cont.Doc                1       Filed 08/26/09 Entered 08/26/09 17:50:04                                                    Desc Main
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                    Conailco, Inc.
In re __________________________________________,                                                           Case No. _________________________________
                      Debtor                                                                                                  (if known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                               (Continuation Sheet)




                                                        HUSBAND, WIFE,

                                                         COMMUNITY
      CREDITOR’S NAME,                                                        DATE CLAIM WAS                                                                 AMOUNT OF




                                                                                                                               UNLIQUIDATED
                                                                                                                  CONTINGENT
                                             CODEBTOR


                                                          JOINT, OR




                                                                                                                                              DISPUTED
       MAILING ADDRESS                                                         INCURRED AND                                                                    CLAIM
     INCLUDING ZIP CODE,                                                    CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                            CLAIM.
         (See   instructions above.)                                       IF CLAIM IS SUBJECT TO
                                                                              SETOFF, SO STATE.


 ACCOUNT NO.             1016-6448                                       November, 2008

Stanley Fastening
P.O. Box 371929                                                                                                                                               $405.41
Pittsburgh, PA 15251



 ACCOUNT NO.         CONLAK 0001                                         July, 2008

 Woolf
 8550 Ridgefield Road                                                                                                                                         $994.33
 Crystal Lake, IL 60012-2802



 ACCOUNT NO.               013348                                        January, 2009

 Senco
 4091 Paysphere Circle                                                                                                                                        $237.03
 Chicago, IL 60674


 ACCOUNT NO.




 ACCOUNT NO.




           2     2 continuation sheets attached
 Sheet no.___of___                                                                                                                   Subtotal            $   1,636.77
 to Schedule of Creditors Holding Unsecured
 Nonpriority Claims

                                                                                                                              Total                      $ 122,411.53
                                                                                (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
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B6G (Official Form 6G) (12/07)

In re                  Conailco, Inc.                         ,                    Case No.
                    Debtor                                                                              (if known)


        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
    interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
    lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
    a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
    Fed. R. Bankr. P. 1007(m).


✔ Check this box if debtor has no executory contracts or unexpired leases.
          NAME AND MAILING ADDRESS,                                      DESCRIPTION OF CONTRACT OR LEASE AND
              INCLUDING ZIP CODE,                                         NATURE OF DEBTOR’S INTEREST. STATE
    OF OTHER PARTIES TO LEASE OR CONTRACT.                               WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
           Case
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                   6H) (12/07)           Doc 1       Filed 08/26/09 Entered 08/26/09 17:50:04                              Desc Main
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In re                   Conailco, Inc.                    ,                                       Case No.
                        Debtor                                                                                             (if known)


                                                   SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

✔    Check this box if debtor has no codebtors.


               NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR
                     Case 09-73636
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                                  Conailco, Inc.
               In re _________________________________________ ,                                                                          Case No. ______________________________
                                    Debtor                                                                                                                     (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            15 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                       Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                               (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.

Address
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                      Donald M. Jewell
    I, the __________________________________       [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________
                                    Conailco                   [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of ___ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


     08-26-20009
Date ______________________________________
                                                                                                                           /s/ Donald M. Jewell, President, Conailco, Inc.
                                                                                                        Signature: _____________________________________________________________

                                                                                                                                  Donald M. Jewell, President, Conailco, Inc.
                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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                             United States Bankruptcy Court
                                 Northern
                             _______________                  Illinois
                                             District Of _______________


In re Conailco, Inc.

                                                                                         Case No. ___________

Debtor                                                                                               7
                                                                                         Chapter _________


              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the atto rn ey for the above-
   named debtor(s) and that compensation paid to me w ithin one year before the filing of the petition in
   bankruptcy, o r agreed to be paid to me, fo r services rendered or to be rendered on behalf o f the debto r(s)
   in contemplation of or in connection w ith the bankruptcy case is as follow s:

                                                                                                                       299.00
    For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                        299.00
    Prior to the fi ling of this statem ent I have recei ved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                                    0.00
    Balance D ue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2. The source of the compensati on paid to me w as:

             ✔ D ebtor                          O ther (specify)

3. The source of compensati on to be paid to me is:

              ✔   D ebtor                       O ther (specify)

4. ✔ I have not agreed to share the above-disclosed compensation w ith any other person unl ess they are
     members and associates of my law firm.

          I have agreed to share the above-disclosed compensation w ith a other person or persons w ho are not
          members or associates of my law firm. A copy of the agreement, together w ith a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-di sclo sed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, incl uding:

   a. Analysis of the debtor' s fi nancial situati on, and renderi ng advice to the debtor i n determining w hether
      to file a petiti on in bankruptcy;

   b. Preparation and filing of any petition, schedules, statements of affairs and plan w hich may be required;

   c. Representati on of the debtor at the meeti ng of cred itors and confi rm ati on heari ng, and any adj ourn ed
      hearings thereof;
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B7 (Official Form 7) (12/07)
                                   UNITED STATES BANKRUPTCY COURT


                           Northern
                 ______________________________                        Illinois
                                                DISTRICT OF _____________________________



In re:_____ ___________________________________,
                     Conailco, Inc.                                       Case No. ___________________________________
                          Debtor                                                               (if known)




                                     STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.


                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

______________________________________________________________________________________________________
        1. Income from employment or operation of business

None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
            the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                        AMOUNT                                                      SOURCE
                         $205.00                              Conailco, Inc. (August, 2008 through August, 2009)

                        $5034.00                              Conailco, Inc. (August, 2007 through August, 2008)
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                                                                                                                                      2

          2.   Income other than from employment or operation of business

None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the
✔         debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
          joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)

                    AMOUNT                                                                    SOURCE




_____________________________________________________________________________________________________
        3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None
✔         a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
          this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
          as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
          agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                   DATES OF             AMOUNT               AMOUNT
                                                              PAYMENTS             PAID                 STILL OWING



______________________________________________________________________________________________________
None

G
✔         b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
          within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
          constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*)
          any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
          debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                              DATES OF                  AMOUNT               AMOUNT
                                                                    PAYMENTS/                 PAID OR              STILL
                                                                    TRANSFERS                 VALUE OF             OWING
                                                                                              TRANSFERS

          ________________________________________________________________________________________________
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                                                                                                                                      3
None

G
✔         c. All debtors: List all payments made within one year immediately preceding the commencement of this case
          to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
          include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                  DATE OF             AMOUNT               AMOUNT
               AND RELATIONSHIP TO DEBTOR                    PAYMENT             PAID                 STILL OWING




______________________________________________________________________________________________________


          4. Suits and administrative proceedings, executions, garnishments and attachments

None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
✔         preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
          information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
          and a joint petition is not filed.)

               CAPTION OF SUIT                                                   COURT OR AGENCY                STATUS OR
               AND CASE NUMBER               NATURE OF PROCEEDING                AND LOCATION                   DISPOSITION




______________________________________________________________________________________________________

None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
✔         year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
          must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS                                                                       DESCRIPTION
               OF PERSON FOR WHOSE                           DATE OF                                  AND VALUE
               BENEFIT PROPERTY WAS SEIZED                   SEIZURE                                  OF PROPERTY



_____________________________________________________________________________________________________

          5.   Repossessions, foreclosures and returns

None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
✔         of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
          (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                        DATE OF REPOSSESSION,                         DESCRIPTION
               NAME AND ADDRESS                         FORECLOSURE SALE,                             AND VALUE
               OF CREDITOR OR SELLER                    TRANSFER OR RETURN                            OF PROPERTY


_
______________________________________________________________________________________________________
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                                                                                                                                    4

        6.   Assignments and receiverships

None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
✔       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)

                                                                                                      TERMS OF
             NAME AND ADDRESS                          DATE OF                                        ASSIGNMENT
             OF ASSIGNEE                               ASSIGNMENT                                     OR SETTLEMENT




________________________________________________________________________________________________

None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
✔       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

                                            NAME AND LOCATION                                                   DESCRIPTION
             NAME AND ADDRESS               OF COURT                                       DATE OF              AND VALUE
             OF CUSTODIAN                   CASE TITLE & NUMBER                            ORDER                Of PROPERTY



______________________________________________________________________________________________________

        7.   Gifts

None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
✔       except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
        and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
        chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                    RELATIONSHIP                                                        DESCRIPTION
        OF PERSON                           TO DEBTOR,                      DATE                                AND VALUE
        OR ORGANIZATION                     IF ANY                          OF GIFT                             OF GIFT



_____________________________________________________________________________________________________

        8.   Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
✔      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

        DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF
        AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                                     DATE
        PROPERTY                       BY INSURANCE, GIVE PARTICULARS                                           OF LOSS




______________________________________________________________________________________________________
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                                                                                                                                     5

           9.   Payments related to debt counseling or bankruptcy

 None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
           consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
           within one year immediately preceding the commencement of this case.

                                                         DATE OF PAYMENT,                    AMOUNT OF MONEY OR
           NAME AND ADDRESS                              NAME OF PAYER IF                    DESCRIPTION AND
           OF PAYEE                                      OTHER THAN DEBTOR                   VALUE OF PROPERTY
John Haderlein, ESQ.                           August, 2009                                 $299.00
815-C Country Club Drive
Libertyville, IL 60048

 ______________________________________________________________________________________________________
         10. Other transfers
 None
 ✔          a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
           the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
           this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
           whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

           NAME AND ADDRESS OF TRANSFEREE,                                         DESCRIBE PROPERTY
           RELATIONSHIP TO DEBTOR                                                  TRANSFERRED AND
                                                                    DATE           VALUE RECEIVED


 ______________________________________________________________________________________________________
 None
 ✔
 G         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
           to a self-settled trust or similar device of which the debtor is a beneficiary.

           NAME OF TRUST OR OTHER                        DATE(S) OF                AMOUNT OF MONEY OR DESCRIPTION
           DEVICE                                        TRANSFER(S)               AND VALUE OF PROPERTY OR DEBTOR’S
                                                                                   INTEREST IN PROPERTY


 ______________________________________________________________________________________________________

           11. Closed financial accounts

 None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
 ✔         closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
           checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
           held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
           institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
           instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)

                                               TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
           NAME AND ADDRESS                    DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
           OF INSTITUTION                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING




 ______________________________________________________________________________________________________
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                                                                                                                                   6

        12. Safe deposit boxes

None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
✔       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
        chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                   NAMES AND ADDRESSES                 DESCRIPTION          DATE OF TRANSFER
        OF BANK OR                         OF THOSE WITH ACCESS                OF                   OR SURRENDER,
        OTHER DEPOSITORY                   TO BOX OR DEPOSITORY                CONTENTS             IF ANY


_
______________________________________________________________________________________________________

        13. Setoffs

None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
✔       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                                                                     DATE OF                   AMOUNT
        NAME AND ADDRESS OF CREDITOR                                 SETOFF                    OF SETOFF



_____________________________________________________________________________________________________

            14. Property held for another person

None    List all property owned by another person that the debtor holds or controls.
✔
        NAME AND ADDRESS                         DESCRIPTION AND
        OF OWNER                                 VALUE OF PROPERTY                                  LOCATION OF PROPERTY




_____________________________________________________________________________________________________

        15. Prior address of debtor

None
G
✔       If debtor has moved within three years immediately preceding the commencement of this case, list all premises
        which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
        filed, report also any separate address of either spouse.



        ADDRESS                                  NAME USED                             DATES OF OCCUPANCY




_____________________________________________________________________________
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                                                                                                                                    7

         16. Spouses and Former Spouses

None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
✔        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
         years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
         any former spouse who resides or resided with the debtor in the community property state.

         NAME


______________________________________________________________________________________________________
        17. Environmental Information.

         For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
         releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
         other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
         or material.

         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
         formerly owned or operated by the debtor, including, but not limited to, disposal sites.

        "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
        material, pollutant, or contaminant or similar term under an Environmental Law.
________________________________________________________________________________________________

None     a. List the name and address of every site for which the debtor has received notice in writing by a governmental
✔        unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
         governmental unit, the date of the notice, and, if known, the Environmental Law:

             SITE NAME                 NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
             AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE               LAW


______________________________________________________________________________________________________

None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
✔        of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

             SITE NAME                 NAME AND ADDRESS                         DATE OF         ENVIRONMENTAL
             AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE          LAW


_____________________________________________________________________________________________________

None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
✔        respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
         to the proceeding, and the docket number.

             NAME AND ADDRESS                          DOCKET NUMBER                       STATUS OR
             OF GOVERNMENTAL UNIT                                                          DISPOSITION

______________________________________________________________________________________________________

         18 . Nature, location and name of business

None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
✔        and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
         executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
         other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
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          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities, within six years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities within six years immediately preceding the commencement of this case.

                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                  BEGINNING AND
               NAME            OR OTHER INDIVIDUAL                  ADDRESS        NATURE OF BUSINESS              ENDING DATES
                               TAXPAYER-I.D. NO.
                               (ITIN)/ COMPLETE EIN


______________________________________________________________________________________________________

None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
✔         defined in 11 U.S.C. § 101.

               NAME                                      ADDRESS



______________________________________________________________________________________________________

           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

          (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

_____________________________________________________________________________________________________


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
✔         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

               NAME AND ADDRESS                                                               DATES SERVICES RENDERED


________________________________________________________________________________________________

None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
✔         case have audited the books of account and records, or prepared a financial statement of the debtor.

               NAME                                      ADDRESS                              DATES SERVICES RENDERED



_____________________________________________________________________________________________________
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None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
✔         books of account and records of the debtor. If any of the books of account and records are not available, explain.

               NAME                                                                         ADDRESS


________________________________________________________________________________________________

None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
✔         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

                    NAME AND ADDRESS                                                             DATE ISSUED



________________________________________________________________________________________________

          20. Inventories

None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
✔         taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                                 DOLLAR AMOUNT
                                                                                                 OF INVENTORY
                    DATE OF INVENTORY                INVENTORY SUPERVISOR                        (Specify cost, market or other
                                                                                                 basis)



____________________________________________________________________________________________________

None      b. List the name and address of the person having possession of the records of each of the inventories reported
✔         in a., above.

                                                                                                 NAME AND ADDRESSES
                                                                                                 OF CUSTODIAN
                    DATE OF INVENTORY                                                            OF INVENTORY RECORDS



____________________________________________________________________________________________________

               21 . Current Partners, Officers, Directors and Shareholders

None           a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
✔              partnership.

               NAME AND ADDRESS                         NATURE OF INTEREST              PERCENTAGE OF INTEREST



______________________________________________________________________________________________________

None           b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
✔              directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
               corporation.
                                                                                           NATURE AND PERCENTAGE
                    NAME AND ADDRESS                                 TITLE                    OF STOCK OWNERSHIP
Donald M. Jewell                                                                           100%
                                                          President, Secretary & Treasurer
19110 Streit Road
Harvard, IL 60033

__________________________________________________________________________________________________
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        22 . Former partners, officers, directors and shareholders

None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
✔       preceding the commencement of this case.

            NAME                                           ADDRESS                    DATE OF WITHDRAWAL



___________________________________________________________________________________________________

None    b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
✔       within one year immediately preceding the commencement of this case.

                  NAME AND ADDRESS                              TITLE                          DATE OF TERMINATION



___________________________________________________________________________________________________

        23 . Withdrawals from a partnership or distributions by a corporation

None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
✔       including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
        during one year immediately preceding the commencement of this case.

                  NAME & ADDRESS                                                          AMOUNT OF MONEY
                  OF RECIPIENT,                            DATE AND PURPOSE               OR DESCRIPTION
                  RELATIONSHIP TO DEBTOR                   OF WITHDRAWAL                  AND VALUE OF PROPERTY




___________________________________________________________________

        24. Tax Consolidation Group.

None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
✔       consolidated group for tax purposes of which the debtor has been a member at any time within six years
        immediately preceding the commencement of the case.

            NAME OF PARENT CORPORATION                     TAXPAYER-IDENTIFICATION NUMBER (EIN)



_____________________________________________________________________________________________________

        25. Pension Funds.

None    If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
✔       which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
        preceding the commencement of the case.

            NAME OF PENSION FUND                      TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                                        * * * * * *
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                                                                                                                                                            11

            [If completed by an individual or individual and spouse]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial
            affairs and any attachments thereto and that they are true and correct.


        Date __________________________                                          Signature
_____________________________________________
                                                                                 of Debtor

            Date __________________________                                      Signature_________________________________________
                                                                                 of Joint Debtor
                                                                                 (if any)



__________________________________________________________________________________________________________________________

            [If completed on behalf of a partnership or corporation]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
            thereto and that they are true and correct to the best of my knowledge, information and belief.


                               08-26-2009
          Date __________________________                                              Signature                 /s/ Donald M. Jewell
__________________________________________________


_________________________________________________
                                                                                                   /s/ Donald M. Jewell, President, Conailco, Inc.
                                                                                                    Print Name and Title


            [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]




                                                                ____ continuation sheets attached

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
___________________________________________________________________________________________________

            DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

_____________________________________________________                                                      _____________________________
Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                   Social-Security No. (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,
responsible person, or partner who signs this document.
Address
________________________________

_________________________________
Address


X _____________________________________________________                                                                ____________________
 Signature of Bankruptcy Petition Preparer                                                                                       Date

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.
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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS

IN RE:                                               )
                                                     )
CONAILCO, INC., DEBTOR                               )       No.
                                                     )       Chapter 7
                                                     )

                     VERIFICATION OF CREDITOR MATRIX
                                                             Number of Creditors: 15

    The above-named Debtor(s) hereby verifies that the list of creditors is true and correct
to the best of my knowledge.


Date: August 26, 2009                                        Conailco, Inc.
                                                             /s/ Donald M. Jewell
                                                             Its: President
                                                             …………………………
                                                             Debtor




                                             1
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Conailco, Inc.
c/o Donald M. Jewell, President
19110 Streit Road
Harvard, IL 60033

Law Offices of John Haderlein, Esq.
815-C Country Club Drive
Libertyville, IL 60048

Secretary of State
Dept. of Business Services
501 S. 2nd Street
Springfield, IL 62756-5510

Advanta Business Cards
P.O. Box 8088
Philadelphia, PA 19101

Wells Fargo Business Direct
P.O. Box 348750
Sacramento, CA 95834

Citibusiness Card
P.O. Box 44180
Jacksonville, FL 32231-4180

Gummerson & Rausch (Woolf Distr.)
101 S. Benton Street, Suite 201
Woodstock, IL 60098

Pan American Screw
630 Reese Drive
Conover, NC 28613

Gardner Denver Thomas, Inc.
P.O. Box 953331
St. Louis, MO 63195-3331

Bulldog Tools & Fasteners
1147 N. Ellsworth Avenue
Villa Park, IL 60181

Simpson Strong Tie
P.O. Box 45687
San Francisco, CA 94145-0687

Anasco, Inc.
1515 W. Fullerton Avenue
Addison, IL 60101

Stanley Fastening
P.O. Box 371929
Pittsburgh, PA 15251
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Woolf
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4091 Paysphere Circle
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